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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS
                                 EAST ST. LOUIS, ILLINOIS

   CORNELIUS BENNETT and                           )
   EARLIE FUSE,                                    )
                                                  )
            Plaintiffs,                            )
                                                   )         Cause No. 3:20-cv-00530-JPG
   vs.                                             )
                                                  )
   CITY OF CENTREVILLE,                           )
   TOWNSHIP OF CENTREVILLE,                       )
   COMMONFIELDS OF CAHOKIA,                       )
   MARIUS “MARK” JACKSON,                         )
   CURTIS MCCALL, LAMAR GENTRY,                   )
   DENNIS TRAITEUR.                               )
                                                  )
            Defendants.                           )

            PLAINTIFFS' MOTION TO COMPEL APPEARANCE
             AND TESTIMONY OF KERCHAVIAN MCCALL AT
          DEPOSITION, AND REQUEST FOR EXPEDITED HEARING
         Plaintiffs Cornelius Bennett and Earlie Fuse, pursuant to Fed. R. Civ. P. (“Rule” or

“Rules”) 26(c) and 37, hereby move that this Court enter an order requiring

Witness Kerchavian McCall to appear and give testimony at a deposition properly noticed

for Friday, August 12, 2022 at Noon:


                                          Background

   1. In a letter sent to Plaintiffs on June 14, 2022, Defendants’ counsel provided available

         dates for depositions. See Exhibit A. Plaintiffs attempted to schedule depositions on

         these dates, including on July 20, 2022. In a second letter sent to Plaintiffs on July 5,

         Defendants changed their availability, removing the date of July 20 as available for

         depositions. See Exhibit B. Also, See Exhibit A.

   2. Defendants sent a third letter on July 13, again changing their availability for

         depositions. Defendants listed August 12 from 9am-5pm as available. See Exhibit B.
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   3. To accommodate Defendants’ third change in availability, Plaintiffs scheduled

      Kerchavian McCall’s deposition to August 12, 2022. See Exhibit A.

   4. On July 20, 2022, Plaintiffs properly served Defendant’s counsel with a Plaintiffs’

      Notice to Take Deposition of Kerchavian McCall, which, pursuant to Rule 30, set

      the deposition of witness Kerchavian McCall to begin on August 12, 2022 at 12:00

      p.m. over Zoom. See Exhibit C.

   5. Defendants’ Counsel emailed Plaintiffs on August 8, 2022 at 3:38 p.m. that

      Kerchavian McCall was unavailable for his scheduled deposition because he was

      “leaving for vacation” on August 11, 2022. See Exhibit D.

   6. Defendants sought to move Kerchavian McCall’s deposition from the scheduled time,

      August 12 at 12 p.m., to August 9 at 1 p.m., when witness DeMario Helm’s deposition

      was scheduled to occur. Defendants then wanted Helm’s deposition to take place

      when Kerchavian McCall’s deposition was scheduled, on August 12, 2022, at 12 p.m.

      See Exhibit D.

   7. Defendants emailed Plaintiffs once more on August 8, 2022, at 3:58 p.m., and sent a

      letter again trying to reschedule the properly noticed depositions to accommodate

      Kerchavian McCall’s vacation. See Exhibit E. Also, See Exhibit F.

   8. Plaintiffs responded they were happy to accommodate Kerchavian McCall’s vacation

      by taking the deposition over Zoom but were not amenable to rescheduling the

      deposition that had been scheduled over three weeks before on July 20, 2022. See

      Exhibit E.
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   9. After additional requests to reschedule Kerchavian McCall’s deposition, Plaintiffs

       offered to take the deposition on August 11, 2022, at 9 a.m. (when Erma Millard’s

       deposition was scheduled) or at a different time on August 12, 2022. See Exhibit G.

   10. Defendant is unwilling to produce Kerchavian McCall at the scheduled time on

       August 12, 2022 and seeks future dates to produce him. Plaintiffs wish to proceed with

       McCall’s properly noticed deposition after Defendant has already made them

       reschedule several times. See Exhibit G.


                        An Order Compelling Mr. McCall’s
                      Appearance and Testimony Is Appropriate

       Plaintiffs seek an order requiring Kerchavian McCall to appear and testify at his

deposition, in order to ensure that the deposition takes place promptly, without Defendants

engaging in further efforts to unduly delay or avoid a deposition.

       Rule 26(c) provides, in pertinent part, that if a motion for protective order is "denied

in whole or in part, the court may, on such terms and conditions as are just, order that any

party or other person provide or permit discovery." Rule 37(d) provides, in pertinent part:


               (d) Failure of Party to Attend at Own Deposition . . . . If a
               party fails (l) to appear before the officer who is to take the
               deposition, after being served with a proper notice . . . the
               court in which the action is pending on motion may make
               such orders in regard to the failure as are just . . . . The failure
               to act described in this subdivision may not be excused on the
               ground that the discovery sought is objectionable unless the
               party failing to act has a pending motion for a protective order
               as provided by Rule 26(c).

        An order compelling Mr. McCall to appear for a deposition is appropriate and just.

 Defendants’ counsel received the Notice to Take Deposition of Kerchavian McCall from

 Plaintiffs on July 20, 2022. Defendants’ counsel had three weeks to address time conflicts
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 or submit a Motion for Protective Order and did not do so. Defendants have cited no case

 law or statute upon which they rely that allows them to not produce Mr. McCall for his

 properly notice (virtual) deposition. Therefore, Witness Kerchavian McCall should be

 ordered to appear for his deposition. Further, because the deposition is scheduled

 remotely via Zoom, the witness can appear from virtually anywhere in the world,

 including Mexico.

                                         Conclusion
        For the foregoing reasons, Plaintiffs request that the Court enter an order

 requiring Witness Kerchavian McCall to appear and give testimony at a deposition on

 August 12, 2022, at 12 p.m.
                                             Respectfully submitted,

                                             METROPOLITAN ST.    LOUIS  EQUAL
                                             HOUSING & OPPORTUNITY COUNCIL


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